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MINUTE ENTRY
VITTER, J.
JUNE 18, 2024
JS10: 00:48

                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                 CRIMINAL ACTION

VERSUS                                                   NO. 24-105

JOVANNA R GARDNER                                        SECTION “D”

                                ARRAIGNMENT

Courtroom Deputy:        Melissa Verdun
Court Reporter:          Nichelle Wheeler
Law Clerk:               Tate Curington

APPEARANCES: Matthew Payne, Jeffrey McLaren and Brian Klebba, Asst. U. S.
             Attorneys
             Graham Bosworth, Counsel for Defendant
             Shalita Morgan, U. S. Probation Officer
             Jovanna R Gardner, Defendant

Court begins at 12:44 p.m.
Case called; all present and ready.
Government advises the Court that it has filed a Superseding Bill of Information as
to Defendant Gardner.
Court accepts and files the Superseding Bill of Information into the record.
Defendant sworn and questioned by the Court.
Government submits the executed waiver of Indictment and same is filed.
Superseding Bill of Information read.
Defendant informed of maximum penalties.
Defendant informed of the sentencing guidelines.
Defendant informed of constitutional rights pursuant to Fed. R. Crim. P.
11, including right to trial by jury or by the court and waives same.
Counsel for defendant questioned by the Court.
Government submits Plea Agreement and same is filed.
Government summarizes the factual basis for the Court.
Government submits the factual basis to the court and same is filed.
Defendant admits to the correctness of the factual basis.
Defendant pleads Guilty as to Count 1 of the Superseding Bill of Information. Court
finds the plea knowingly and voluntarily entered.
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Plea accepted and defendant is ADJUDGED GUILTY on plea of guilty.
Pre-sentence investigation ORDERED.
Sentencing is set for TUESDAY, NOVEMBER 19, 2024, AT 10:00 A.M.
IT IS FURTHER ORDERED that the pretrial conference and trial dates as to this
defendant only are continued without date.
Defendant is remanded to the custody of the U.S. Marshal.
Court adjourned at 1:32 p.m.
